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                       SHE R T R E M O N T E                    LLP


                                                               November 30, 2020


BY ECF

The Honorable Paul A. Engelmayer
United States District Judge
United States District Court
Southern District of New York
40 Foley Square
New York, NY 10007


       Re:     United States v. Ari Teman
               Case No. 19-cr-696 (PAE)


Dear Judge Engelmayer:

         We write on behalf of our client, Ari Teman, to advise the Court regarding
restitution in advance tomorrow’s sentencing proceeding. As the Court is aware, the
Probation Department has calculated a restitution award of $259,988.17 in this case. Mr.
Teman has gathered his own funds and borrowed money in order to obtain that amount
and, as of today, has arranged for all such funds to be transferred to our firm’s IOLTA
account. Mr. Teman has authorized us to pay restitution from our IOLTA account at the
appropriate time.

        We note, however, that earlier today the government filed a letter suggesting a
lesser restitution amount1 based on information provided to the government by Bank of
America. We have written to the government with questions regarding the government’s
new calculation and for discovery of the documents underlying this information, and we
hope to obtain an answer in advance of sentencing. In any event, Mr. Teman is prepared
to make a restitution payment up to the original amount calculated by the Probation
Department following entry of the judgment.

                                              Respectfully submitted,

                                              /s/
                                              Justine Harris
                                              Noam Biale

cc:    All Counsel of Record

1       The government has provided its calculation as a “forfeiture” amount, but because
it did not present the forfeiture count to the jury and Mr. Teman did not waive his right to
such presentation, see Trial Tr. 877, the government may not seek forfeiture.
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